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AO 245B (CASDRev, 08/13) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                                                  JUDGMENT IN A CRIMINAL CASE
                                 V.                                                                    (For Offenses Committed On or After November 1, 1987)
          ALVARO ANTONIO GUERRERO (3)
                                                                                                            Case Number:                         16CR1555-L

                                                                                                       MARTIN MOLINA
                                                                                                       Defendant's Attorney
REGISTRATION NO.                 56382298                                                                                                                                                  FILED
0-
THE DEFENDANT:                                                                                                                                                                       I DC r 11 2016
IZI pleaded guilty to count(s)        _T.::.H::..:.::RE:::::.::E::..(~3'.!..)..::O::.:F~T.::.H~E:..:IN~F:...:O:::RMA:::.:::::..::.T.::.I::.::O::.:N~_ _ _ _*...,.C;jLoii;ER,ii.Kij..'il+
                                                                                                                                                                                     ,1..,;;~.S~;.,O.~",i~..T" K~·;.i-C;;G;~:.i:0;;,~,~'T"",""
                                                                                                                                                                          ay                                                   DEPuTY
o was found guilty on count(s)
    after a plea of not guilty,
Accordingly, the defendant is adjudged gnilty of such count(s), which involve the following offense(s):
                                                                                                                                                                                                       Connt
Title & Section                   Natnre of Offense                                                                                                                                                   Nnmberfs)
8 USC 1324(a)(l)(A)(ii),          CONSPIRACY TO TRANSPORT CERTAIN ALIENS FOR                                                                                                                             3
(v)(I), and (a)(l)(B)(i)          FINANCIAL GAIN




    The defendant is sentenced as provided in pages 2 through                                                            3                    of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)
               --------------------- is                                                                           dismissed on the motion of the United States.

IZI Assessment: $100



IZI No fine                  0 Forfeiture pursuant to order filed                                     , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




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AD 245B (CASD) (Rev. 12111) Judgment in a Criminal Case with Probation
           Sheet 2 -- Probation
                                                                                                              Judgment Page       2     of        3
DEFENDANT: ALVARO ANTONIO GUERRERO (3)                                                                 II
CASE NUMBER: 16CR1555-L
                                                                   PROBATION
The defendant is hereby sentenced to probation for a tenn of:
 FIVE (5) YEARS

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000,pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted ofa qualifYing offense. (Check if applicable.)
D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11 )    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



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                                           SPECIAL CONDITIONS OF SUPERVISION

               I. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


               2. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
                  Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
                  contraband or evidence of a violation of a condition of release; failure to submit to a search may be
                  grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
                  searches pursuant to this condition.



      II




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